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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,
Plaintiff,
Vv.

WILLIAM DONOVAN

JOHNSON III,

a/k/a “Billy Johnson,”

DAVID SCOTT CHAMBERS,
a/k/a “Scott Chambers,”

GENE OLEN CHARLES RAST,
a/k/a “Charlie Rast,”

SHAUNI BREANNE CALLAGY,
RENEE LYNN HAYNES,

LUIS ALFREDO JACOBO,
a/k/a “Lokz,”

JESUS VALDEZ MARTINEZ,
a/k/a “Jesse Martinez,”

a/k/a “Hostile,”

KELLY WAYNE BRYAN,
CURTIS ANTHONY JONES,
ANTONIO CERVANTES GARCIA
a/k/a “Tony Garcia,”

Defendants.

 

Case No. 21-CR-102-CVE

FILED UNDER SEAL

FILED

SEP 29 2021

Mark C. McCartt, Clerk
U.S. DISTRICT COURT

MOTION TO UNSEAL CASE

The United States moves the Court to unseal the Case in this matter. In support of

this motion, the United States offers the following:

1. All defendants are now in federal custody, including defendants who were

not in custody at the time the Second Superseding Indictment issued.

2. Therefore, there is no longer a need for the case to remain under seal.
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For the reasons set out in this motion, the United States respectfully requests the

Case be unsealed.

Respectfully submitted,

CLINTON J. JOHNSON
Acting United States Attorney

 

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Assistant United States Attorney

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CERTIFICATE OF SERVICE

I hereby certify that on this 29th day of September, 2021, I caused the foregoing
sealed document to be filed by hand delivery to the Clerk of Court and emailed a copy
to:

Douglas Smith,

Counsel for defendant Gene Olen Charles Rast
Craig Hoehns,

Counsel for defendant Shauni Breanne Callagy
Scott Troy,

Counsel for defendant Renee Lynn Haynes

Qe

Assistant United States Attorney

 
